782 F.2d 1042
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.MARGARET MULLINS LEONARD, Plaintiff-Appellant,v.SECRETARY OF HEALTH AND HUMAN SERVICES, Defendant-Appellee.
    85-1795
    United States Court of Appeals, Sixth Circuit.
    12/6/85
    
      ORDER
      BEFORE:  KEITH, KENNEDY, and KRUPANSKY, Circuit Judges.
    
    
      1
      This matter is before the court upon the appellee's motion to remand this case to the Secretary for readjudication under the new mental impairment listings of 20 C.F.R. Sec. 404, Subpart P, Appendix 1.  The motion represents that appellant concurs in this motion.
    
    
      2
      Upon consideration thereof, it is ORDERED that the motion be and hereby is granted.
    
    